3/28/25, 8:03 AN25-cv-02649-DCN-MHC Date Filech@i8/BiVa bs. Dentustiadhlapmber 1-5 Page 1 of 3
RY; Gmail William Hamilton <wjhamilton29464@gmail.com>

Daniel Is. Demonstration April 5

William Hamilton <wjhamilton29464@gmail.com> Thu, Mar 13, 2025 at 1:54 PM
To: "Dasher, Timothy" <DASHERT @charleston-sc.gov>

Please send me the current form to apply for a demonstration permit.

It would be nice if the form was set up so you could fill it in by typing. That has been
possible for over 20 years. All my forms for my organization work that way. You get a
clean, typewritten form.

You can even set it up so the contents are automatically accessioned into your
database.

We're planning 100 demonstrators on the public right of way outside the Office of Nancy
Mace on Daniel Island in two shifts of 100, 1 pm to 2:30 and 2:30 to 4 pm. on April 5,
2025. | have Erin McKee, a 65 year old Union Organizer with 40 years experience
managing safety and permit compliance. I'll be present as well. Speakers and program
will be under the management of Merill Chapman.

There shouldn't be any problems.

Facebook event link at https:/Awww.facebook.com/share/1ZFTMUBBHf/

William J. Hamilton, Ill
Attorney at law
843-870-5299

https://mail.google.com/mail/u/0/?7ik=a882f2658b&view=pt&search=all&permmsgid=msg-a:r-4987394679094528255&simpl=msg-a:r-49873946790945... 1/1
2:25-Cv-02649-DCN-MHC Date Filed 03/28/25 = Entry Number 1-5 Page 2 of 3

Content of Facebook Event Page Linked to Email sent to City of
Charleston Police Department on Mareh 13

31 people responded

Event by Loweountry Up is Good PAC
900 Island Park Drive Suite 260 Daniel Island, South Carolina 29492

Duration: 3 hr

Public - Anyone on or off Facebook

Demonstration action being planned for Saturday, April 5 near the Daniel Island office of US Representative
Nancy Mace. The demonstration will include delegations from a coalition of human rights and economic
justice organizations from the 1st Congressional District and Lowcountry including those committed to
healthcare, reproductive rights, civil rights, the living wage, education, affordable housing and transit. The
demonstration will prove local opposition to the devastating cuts planned to these programs in the
Trump/Musk budget which Mace has voted for in a preliminary bill.

The Organizers, Best Friends of Lowcountry Transit, Inc. and Lowcountry Up is Good, PAC, Inc. plan to seek a
permit for the demonstration from the City of Charleston Police Department. No violence or destruction of
property is planned as part of this peaceful demonstration. Participants will be required to sign up online prior
to participating. An overflow standby area will be established, and the demonstration will be three hours long,
conducted in two 90 minute shifts. An after event is being planned. Posts regarding this action will include
hashtag #chsresist

Education advocates will be asked to wear red; healthcare & reproductive rights advocates, blue; Transit
advocates green; housing advocates brown; labor advocates yellow (reflective vests) and gender identity
advocates pridewear.

This demonstration is scheduled to take place during the finals of the Credit One Charleston Open, the largest
women’s only tennis tournament in North America. It will be conducted on public property in accordance with
the rights and privileges reserved to citizens under the First and Fourteenth Amendments to the Constitution
of the United States and with the supervision and help of a team of Experience, SC Licensed Attorneys trained
in Civil Rights and Social Justice Advocacy issues, led by William J. Hamilton, Ill, Lowcountry Attorney, activist
and writer.

The name of the Demo comes from Tennis Nomenclature. An Ace is a shot the opposing player can't return
and chip and charge is an aggressive move where a player hits the ball and charges towards the net. We plan
to be strong in our support of social justice.

This demonstration is scheduled to commemorate the 158th anniversary of a demonstration in downtown
Charleston where African Americans and their supporters confronted a city guard (the police department of
that era) composed of former Confederate soldiers at the four corners of law. This confrontation was a part of
the two month long successful struggle to desegregate Charleston’s then new, horse drawn streetcars.
During the demonstration (also called a riot by some observers) the US Army of Occupation turned out a
company of Black Federal soldiers to protect the African Americans and preserve order. No one was killed
during the tense confrontation, which took place in the first weeks of Federally enforced reconstruction. Mary
Bowers, the Rosa Parks of Charleston would go on to help lead the struggle, demanding the right to ride on
Meeting street two weeks later and ultimately winning it for all Charlestonians in early May.
2:25-Cv-02649-DCN-MHC Date Filed 03/28/25 = Entry Number 1-5 Page 3 of 3

You can read a detailed account of this and other related events in spring of 1867 in Voices of Black South
Carolina by Damon L. Fordham, pp. 29-33, History Press, 2009.

For more information contact

William J. Hamilton, III,Ex. Dir.

Best Friends of Lowocuntry Transit, Inc. & Lowcountry Up is Good, PAC, Inc.

wjhamilton29464@gmail.com, (843) 870-5299Bluesky at https://bsky.app/profile/wjhamilton29464.bsky.social
See less

Charleston, South Carolina
